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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                No. SA CR 19-00047-JLS

11              Plaintiff,                    [PROPOSED] PROTECTIVE ORDER
                                              REGARDING DIGITAL MEDIA
12              v.

13 STEPHEN WILLIAM BEAL,

14              Defendant.

15

16

17         The Court has read and considered the Stipulation and Joint

18   Request for a Protective Order Regarding Discovery Containing

19   Personal Identifying Information, filed by the government and

20   defendant Stephen William Beal (“defendant”) in this matter, which

21   this Court incorporates by reference into this order, and FOR GOOD

22   CAUSE SHOWN the Court hereby FINDS AND ORDERS as follows:

23         1.    The government’s discovery in this case relates to

24   defendant’s alleged crimes, which are violations of 18 U.S.C.

25   § 2332a(a)(2) (Use of a Weapon of Mass Destruction Resulting in

26   Death); 18 U.S.C. § 844(i) (Malicious Destruction of a Building

27   Resulting in Death); 18 U.S.C. § 924(c) (Use of a Destructive Device

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 1   During and in Relation to a Crime of Violence); and 26 U.S.C.

 2   § 5861(d) (Possession of an Unregistered Destructive Device).

 3               The government is in possession of 84 digital devices and

 4   e-mail and social media accounts belonging to persons other than

 5   defendant for which the parties hereby seek a protective order, (the

 6   “PROTECTED INFORMATION”).       For the purpose of this protective order

 7   the PROTECTED INFORMATION includes the digital devices and accounts

 8   themselves, images or copies of the devices and accounts, and

 9   information obtained from the devices and accounts, including notes

10   made while reviewing the devices and accounts.           A complete list of

11   the PROTECTED INFORMATION is attached as Exhibit 1 and incorporated

12   herein by reference.

13               The PROTECTIED INFORAMTION relates to the charges

14   (although some of the materials may exceed the scope of the

15   government’s discovery obligations).         The PROTECTED INFORMATION

16   contains Personal Identifying Information (“PII”) of real persons

17   other than defendant, including, among other things, personal names,

18   addresses, Social Security numbers, and bank account numbers.              The

19   PROTECTED INFORMATION also contains information that the operators

20   consider sensitive and private.

21               Accordingly, the government will provide to defense

22   counsel discovery in the above-captioned case that will be subject

23   to this Protective Order, as follows:

24               a.    For purposes of the Protective Order, the term

25   “defense team” refers to (1) defendant’s counsel of record,

26   (2) other attorneys at defense counsel’s law firm who may be

27   consulted regarding case strategy in the above-captioned matter,

28   (3) defense investigators who are employed by defense counsel or

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 1   retained by defense counsel pursuant to a contract with this case,

 2   (4) retained experts or potential experts, and (5) paralegals, legal

 3   assistants, and other support staff to defendant’s counsel of record

 4   providing assistance on this case -- all of whom have been advised

 5   of their obligations under the Protective Order and have affirmed to

 6   defendant’s counsel of record that they agree to be bound by the

 7   terms of the Protective Order.        The term “defense team” does not

 8   include defendant, his family members, or any other associates of

 9   defendant.

10               b.    Defendant’s counsel of record agrees to advise all

11   members of the defense team of their obligations under the

12   Protective Order and ensure their agreement to follow the Protective

13   Order, prior to providing members of the defense team with access to

14   any materials subject to the Protective Order.

15               c.    The government is authorized to provide defendant’s

16   counsel of record with the PROTECTED INFORMATION marked with the

17   following legend: “CONTENTS SUBJECT TO PROTECTIVE ORDER.”             If

18   defendant objects to any such designation, he may do so by

19   application to the Court upon duly noticed motion, following meeting

20   and conferring with the government regarding the objection.

21               d.    The PROTECTED INFORMATION will be made available for

22   the defense team’s review at a physical location belonging to the

23   Federal Bureau of Investigations (“FBI”) or the U.S. Attorney’s

24   Office (“USAO”).     Should defendant wish to be present for the

25   defense team’s review of the PROTECTED INFORMATION, the parties

26   shall arrange for defendant’s presence in an FBI or USAO location.

27               e.    Defendant may review the PROTECTED INFORMATION in

28   this case only in the presence of a member of the defense team, and

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 1   his counsel of record shall ensure that defendant is never left

 2   alone with, any discovery subject to the Protective Order.

 3   Defendant may see and review the PROTECTED INFORMATION in the

 4   presence of a member of the defense team, but defendant may not

 5   copy, keep, maintain, or otherwise possess any PROTECTED INFORMATION

 6   in this case at any time.       Defendant must return all PROTECTED

 7   INFORMATION to the defense team at the conclusion of any meeting at

 8   which defendant is permitted to view the PROTECTED INFORMATION.

 9   Defendant may not take the PROTECTED INFORMATION out of the room in

10   which he is meeting with the defense team.          Defendant may not write

11   down or memorialize any PII contained in the PROTECTED INFORMATION.

12   At the conclusion of any meeting with defendant, the member of the

13   defense team present shall take with him or her the PROTECTED

14   INFORMATION.     At no time, under no circumstance, will any PROTECTED

15   INFORMATION be left in the possession, custody, or control of

16   defendant, whether he is incarcerated or not.

17               f.    The defense team shall not permit anyone other than

18   the defense team to have possession of the PROTECTED INFORMATION,

19   including defendant himself.

20               g.    The defense team shall access and use the PROTECTED

21   INFORMATION for the sole purpose of preparing for trial or any

22   related proceedings in this case.           The defense team may review the

23   PROTECTED INFORMATION with a witness or potential witness in this

24   case, including defendant.       Before being shown any portion of the

25   PROTECTED INFORMATION, however, any witness or potential witness

26   must be informed of, and agree in writing to be bound by, the

27   requirements of the Protective Order.          No witness or potential

28   witness may retain the PROTECTED INFORMATION, or any copy thereof,

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 1   after his or her review of those materials with the defense team is

 2   complete.

 3               h.    The defense team shall maintain the PROTECTED

 4   INFORMATION safely and securely, and shall exercise reasonable care

 5   in ensuring the confidentiality of those materials by (1) not

 6   permitting anyone other than defense team members and defendant as

 7   restricted above to see the PROTECTED INFORMATION, (2) not divulging

 8   to anyone the contents of the PROTECTED INFORMATION, and (3) not

 9   permitting the PROTECTED INFORMATION to be outside the defense

10   team’s offices, homes, vehicles, or personal presence.

11               i.    To the extent that notes are made that memorialize,

12   in whole or in part, any PROTECTED INFORMATION or to the extent that

13   copies are made for authorized use by members of the defense team,

14   such notes, copies, or reproductions become PROTECTED INFORMATION

15   subject to the Protective Order and must be handled in accordance

16   with the terms of the Protective Order.

17               j.    The defense team shall use the PROTECTED INFORMATION

18   only for the litigation of this matter and for no other purpose.

19   Litigation of this matter includes any appeal filed by defendant and

20   any motion filed by defendant pursuant to 28 U.S.C. § 2255.

21               k.    In the event that a party needs to file the PROTECTED

22   INFORMATION with the Court or divulge the contents of such materials

23   in court filings, the filing shall be made under seal.            If the Court

24   rejects the request to file such information under seal, the party

25   seeking to file such information shall provide advance written

26   notice to the other party to afford such party an opportunity to

27   object or otherwise respond to such intention.           If the other party

28   does not object to the proposed filing, the party seeking to file

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 1   such information shall redact the PROTECTED INFORMATION and make all

 2   reasonable attempts to limit the divulging of the PROTECTED

 3   INFORMATION.

 4               l.    In the event a party identifies the PROTECTED

 5   INFORMATION that the party seeks to introduce at a public hearing or

 6   at trial, the party will identify the specific item of the PROTECTED

 7   INFORMATION to the adverse party.           The parties will then work

 8   diligently to find an appropriate means of introducing the PROTECTED

 9   INFORMATION in a public setting.        If the parties cannot agree, the

10   party seeking to introduce the PROTECTED INFORMATION shall file a

11   motion under seal that specifies the relief sought and the adverse

12   party’s position.

13               m.    The parties also agree that any PROTECTED INFORMATION

14   produced in the course of discovery in the above-captioned matter

15   prior to the date of the Protective Order shall be subject to the

16   terms of the Protective Order.

17               n.    Upon the final disposition of this case, any

18   PROTECTED INFORMATION and materials otherwise identified as

19   containing the PROTECTED INFORMATION shall not be used, in any way,

20   in any other matter, absent a court order.           All materials designated

21   subject to the Protective Order maintained in the defense team’s

22   files shall remain subject to the Protective Order unless and until

23   such order is modified by court order.           Within thirty days of the

24   conclusion of appellate and post-conviction proceedings, the defense

25   team shall return the PROTECTED INFORMATION and materials otherwise

26   identified as containing PII to the government, certify that such

27   materials have been destroyed, or certify that such materials are

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 1   being kept pursuant to the Business and Professions Code and the

 2   Rules of Professional Conduct.

 3                o.   In the event that there is a substitution of counsel

 4   prior to when such documents must be returned, new defense counsel

 5   must join this Protective Order before any PROTECTED INFORMATION or

 6   materials otherwise identified as containing the PROTECTED

 7   INFORMATION may be transferred from the undersigned defense counsel

 8   to the new defense counsel, who then will become the defense team’s

 9   custodian of materials designated subject to the Protective Order

10   and who shall then become responsible, upon the conclusion of

11   appellate and post-conviction proceedings, for returning to the

12   government, certifying the destruction of, or retaining pursuant to

13   the Business and Professions Code and the Rules of Professional

14   Conduct all PROTECTED INFORMATION and materials otherwise identified

15   as PROTECTED INFORMATION.

16           IT IS SO ORDERED.

17

18
      DATE                                       HONORABLE JOSEPHINE L. STATON
19                                               UNITED STATES DISTRICT JUDGE
20
     Presented by:
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22     /s/ Annamartine Salick
      ANNAMARTINE SALICK
23    Assistant United States Attorney
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               Exhibit 1
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 1
                  1B Number 1r   Numerical Identifier/Description
 2

 3
                N/A              Facebook: 1520686543
                                 One (1) Western Digital Hard Drive; S/N:
 4
                                 WCC1T1084338; containing case archive
 5              1B54             ORCC022973, ORC022974 and ORC022975 /
 6                               Field staging media containing image files
                                 from search
 7
                                 One (1) Verizon Motorola cell phone, MEID:
                1B221
 8                               A00000E3AAE7C
 9                                One (1) Apple iPhone 7 256g,
10              1B220            DNPS98FSHG7V in orange Michael Kors
                                 case *HAZMAT
11
                                 One (1) iPad A1455, F4KJH23HF19M, in
                1B224
12                               purple case with charging cord.
13                               Scene C, Room G, Grid G3: One (1) iPhone
                1B222
14                               A1303 (iPhone 3GS) in white case

15              1B293             One (1) CinQ Mondes thumb drive
16

17              1B349             Two (2) flash drives, San Disk DTGE9
18

19              1B317            One (1) Sims card removed from wallet
20                               One (1) MacBook Pro Laptop, Model A1278;
                1B53
21                               S/N: C17FP92BDH2G
22              1B42             One (1) iPhone 8;S/N F17VMC8HJCLQ
23
                1B41             One (1) iPhone 10; S/N: C38VQ6QWJCLH
24                               One (1) Apple iPad, Model A1459; S/N:
                1B37
25                               DMPJLQATF189
26

27
          1 The FBI assigns most digital media a unique 1B number for
28   internal tracking purposes.

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 1                                One (1) LG Cell Phone; S/M:
                 1B36
 2                                611VTMV337823
                                  One (1) LG Cellular Phone; S/N:
 3               1B20
                                  711VTZC568701
 4
                 N/A              HP Envy DV7 Laptop S/N:2CE24519YP
 5

 6                                Apple iCloud Data: Kesu USB 3.0 500GB
                 N/A              Hard Drive; Stephen@bealfamily.net;
 7
                                  hermes6969@icloud.com
 8
                 1B218             One (1) Black Dell Tower, S/N 3PPYPB1
 9               1B217             One (1) LG Tower, no serial #
10               1B216            One (1) black LG Tower, S/N TDR9044
                                  One (1) iPhone 3G; Model A1241; FCC ID:
11               1B19
                                  BCGA1241;
12
                                  One (1) iPhone, 2007, Model A1203; IMEI:
                 1B13
13                                011301005826804
                                  One (1) iPhone, Model A1549;
14               1B12
                                  IMEI:358373067365303
15
                                  One (1) iPhone, Model A1429; IMEI:
                 1B11
16                                990002276301817
17                                iPhone 4S
18               1B286            One (1) iPhone, model A1387, FCC ID: BCG-
                                  E2Y30A
19
                 1B283            2 GB sandisk thumb drive
20                                Vodafone sim card, S/N
                 1B225
21                                8936703155131815811
22
                 1B647            SIM card 890140427 0649378139
                                  Black Samsung flip phone, model SGH-A157,
23               1B525
                                  Phone number 949-632-8475
24                                Western Digital My Passport -
                 1B672
25                                WXB1A47ANXTD
26               1B523            Garmin Nuvi 1390 GPS with cord
27

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 1                                Rose Gold iPad, S/N F9FT2352HP61; square
 2               1B361            electronic point of sale device, S/N:
                                  707GS089001649
 3
                                  Partial cell phone and pieces of cell phone
                 1B367
 4                                (iPhone X) - "LF BH1237"
 5               1B309             One AT&T sim card
                                   Two (2) HP Invent compact dics, cd-r
 6
                 1B306
                                  52x700MG/80min
 7
                                  Sonos Speaker, S/N: 111000-DE-58-78-6A-
                 1B295
 8                                08-A
 9                                 Sonos speaker, S/N 110900-OE-58-88-91-
                 1B294
10                                EO-F and extension cord
                                  Disc labeled "Spa Boop 45:00 Spa
11               1B287
                                  Tranquility"
12               1B223            Green circuit board
13               1B52              IBM Thinkpad Laptop; S/N MP-05W05N
14               1B51             IBM Thinkpad; S/N: L3-A124
                 1B50             Compact Discs
15
                 1B49             Cannon HD Video Camera CMOS
16               1B48              Sony 32GB Memory Card
17               1B47              One (1) Seagate Hard Drive
18               1B46             One (1) Memorex Traveldrive
19
                                   One (1) Sony Handycam, Model DCR-
                 1B43             DVD203; S/N: 371945, in bag with 15 mini
20                                DVDs
21               1B40              One (1) Toshiba Laptop; S/N: X7087802R
22               1B39             One (1) Data Traveler 28GB Thumb Drive
                                  One (1) Sony 8GB Memory Stick; Magic
23               1B38
                                  Gate
24               1B35             One (1) Toshiba Laptop; S/N: 38262009K
25                                One (1) ACER Laptop; S/N:
                 1B34
26
                                  LXR4G020600331ABC91601
                                  One (1) Allenware Laptop, Model 5620D;
27               1B33
                                  S/N: NC562D2K02255
28               1B32             One (1) Fujitsu Laptop; S/N: R4500694
                                             11
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 1                                One (1) Apple MacBook Pro, Model A1278;
                 1B31
 2                                S/N: W89490V266H
                                  One (1) IBM Thinkpad; FCC ID:
 3               1B30
                                  AND9611TB00N
 4
                                  One (1) Seagate External Hard Drive; S/N:
                 1B29
 5                                5RF089YV
                                  Seven (7) Sony Memory Sticks in purple
 6
                 1B28
                                  case
 7
                 1B27              One (1) Aiptek Portable Media Player
 8
                 1B26             One (1) DVD-R; Sony 1.4GB "Accucore"
 9               1B25             One (1) Disc - Verbatim 700MB
                                  Eleven (11) Discs; 10 HP "Invent" DVD+R, 1
10
                 1B24
                                  Memorex CD-RW
11
                 1B23             One (1) Seagate Hard Drive; A9505030009
12
                                  One (1) Seagate Barracude Hard Drive -
                 1B22
13                                2000GB
14               1B21             IBM Hard Drive; P/N #46H6123
                 1B18              One (1) USB Thumb Drive
15
                                  One (1) Acer Laptop; FCC ID: MCLT77H462,
                 1B17
16                                with cord
17                                One (1) Apple MacBook Pro; S/N:
                 1B16
18                                C17FP1JQDHDH2G, with cord
                                  One (1) Lenovo Thinkpad; S/N: MP-05-
19               1B15
                                  VYUD14106, with cord
20                                One (1) External Hard Drive, "My Passport",
                 1B14
21                                S/N: WXL1A56DS00N
22               1B10             Four (4) US Thumb Drives
                 1B9              One (1) Blue Memory Card
23
                                  One (1) iPad, Model 1219; S/N
                 1B8
24                                D30514NFZ38
25
                 1B7              One (1) Fujifilm Discovery Camera; 4307093
26
                                  One (1) iPod, Model A1137; S/N:
27               1B6
                                  YM6238VWTK2
28

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 1                                One (1) Powershot; No: 672031001721;
 2               1B5              with 32 GB memory card and 16 GB
                                  memory card in black bag
 3
                                  One (1) Dell Laptop; FCC ID: QDS-
                 1B4
 4                                BRCM1028
 5               1B3              One (1) Dell Laptop, FCC ID: E2K24GBRL
                                  One (1) Compaq Laptop, S/N: 00196-152-
 6
                 1B2
                                  522-536
 7
                                  One (1) iPad, Model A1430; S/N
                 1B1
 8                                DKVJF0GYDVGM
 9                                (U) Two Hard Drives:
10               1B742            Fujitsu (S/N: K432T8126U00)
                                  Seagate (S/N: 5VJ6XDFY)
11
                                  ASUS Laptop (S/N: D9N0BC13114137H) and
12               1B712
                                  Charging Cable
13

14               N/A              Samsung Galaxy S-9

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